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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

MATTHEW LAUZON,                             )
                                            )
               Plaintiff,                   )
                                            )
vs.                                         )       Docket No: CV-16-cv-00051-DBH
                                            )
STEPHEN DODD,                               )
ROGER BEAUPRE, and                          )
CITY OF BIDDEFORD,                          )
                                            )
               Defendants.                  )

         DEFENDANTS ROGER BEAUPRE AND CITY OF BIDDEFORD’S
      MOTION TO DISMISS, AND INCORPORATED MEMORANDUM OF LAW

       NOW COME Defendants, Roger Beaupre and the City of Biddeford, (hereinafter, the

“City Defendants”), by and through undersigned counsel, and under Federal Rule of Civil

Procedure 12(b)(6) move this Court to dismiss Plaintiff’s Complaint as against them because the

claims asserted by Plaintiff are barred by the applicable statutes of limitations, and because

Plaintiff has failed to comply with the statutory notice requirements set forth in the Maine Tort

Claims Act. In support of their Motion, the City Defendants state as follows:

I.     PROCEDURAL AND FACTUAL BACKGROUND

       In Plaintiff’s Complaint, filed on October 29, 2015 in the Maine Superior Court, York

County, Civil Docket No. CV-15-239, he alleges three separate counts against the City

Defendants. Two of those counts alleged violations of 42 U.S.C. § 1983: one against Defendant

Beaupre, individually, and a second against Defendant Beaupre and the City of Biddeford,

collectively, for their purported failure to train/supervise/discipline the other named-Defendant,

Stephen Dodd. In addition to the federal claims, Plaintiff also alleges the State-law tort claim of

“negligent supervision” against the City Defendants. (ECF No. 3-1.) The City Defendants
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accepted service in this case on January 21, 2016 and, thereafter, the case was removed to this

Court on February 3, 2016.

       Important to this instant Motion, Plaintiff alleges in his Complaint that the underlying

conduct giving rise to his claims took place between himself and Defendant Stephen Dodd, a

then Biddeford Police Department Officer, in 1998-1999 when he was thirteen or fourteen years

old. (ECF No. 3-1, ¶¶ 1, 10, 13-22.) For the reasons discussed below, the City Defendants move

this Court to dismiss Plaintiff’s Complaint as against them because the statute of limitations

applicable to these Federal and State-law claims has expired. Moreover, to the extent that his

State-law claim is not barred by the applicable statute of limitation, that claim should

nevertheless be dismissed against the City Defendants because of Plaintiff’s failure to comply

with the statutory notice requirements of the Maine Tort Claims Act, 14 M.R.S. § 8107.

II.    STANDARD OF REVIEW PURSUANT TO FED. R. CIV. P. 12(B)(6)

       Based on the allegations set forth in the Plaintiff’s Complaint, the Plaintiff’s claims are

barred, by either the passage of time or for non-compliance with statutory requirements, and

therefore the City Defendants seek to dismiss the Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(6).

       In reviewing a motion to dismiss, this Court “must take all the factual allegations in the

complaint as true.” Santana-Castro v. Toledo-Davila, 579 F.3d 109, 111 (1st Cir. 2009) (quoting

Maldonado v. Fontanes, 568 F.3d 263, 266 (1st Cir.2009)). “As a result, ‘to survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.’” Concepcion-Torres v. Puerto Rico, 45 F. Supp. 3d 170, 172

(D.P.R. 2014) (quoting Ashcroft v. Iqbal, 556 U.S 662, 678 (2009)).




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       Statutes of limitations as a defense may be considered on a motion to dismiss pursuant to

Rule 12(b)(6) to the extent that “the complaint and any documents that properly may be read in

conjunction with it show beyond doubt that the claim asserted is out of time.” Rodi v. So. New

England Sch. of Law, 389 F.3d 5, 17 (1st Cir. 2004). The First Circuit has repeatedly held, in

other words, that “[a]ffirmative defenses, such as the statute of limitations, may be raised in a

motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), provided that ‘the facts

establishing the defense [are] clear on the face of the plaintiff’s pleadings.’” Trans-Spec Truck

Serv., Inc. v. Caterpillar Inc., 524 F.3d 315, 320 (1st Cir. 2008) (quoting Blackstone Realty LLC

v. Fed. Deposit Ins. Corp., 244 F.3d 193, 197 (1st Cir.2001)).

       Here, the Plaintiff alleges constitutional violations under Section 1983 of the Civil Rights

Act, and a State-law tort claim of negligent supervision. In his Complaint, Plaintiff alleges that

the underlying conduct given rise to his claims took place between himself and Defendant

Stephen Dodd, a Biddeford Police Department Officer, when he was thirteen or fourteen years

old, and sometime in 1998-1999. (ECF No. 3-1, ¶¶ 1, 10, 13-22). For purposes of deciding a

motion to dismiss, the Court “must take all the factual allegations in the complaint as true.”

Santana-Castro, 579 F.3d at 111, and in doing so, and through simply subtraction, Plaintiff’s

year of birth would have been 1985 by logical extension. Accordingly, he would have reached

the age of majority, i.e. eighteen-years-old, no later than December 31, 2003. As discussed

below, given the applicable six-year statute of limitations for all civil rights claims in Maine,

Counts II and III of Plaintiff’s Complaint became time-barred no later than December 31, 2009.

Moreover, as to Plaintiff’s State-law tort claim of negligent supervision, Count IV, that claim

became time-barred under its applicable statute of limitation no later than December 31, 2005.

Because Plaintiff’s Complaint was not filed until October 29, 2015, as a matter of law, the claims




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set forth in Plaintiff’s Complaint against the City Defendants are time-barred and require

dismissal.

III.   PLAINTIFF’S FEDERAL CLAIMS BROUGHT PURSUANTT TO 42 U.S.C. §
       1983 ARE TIME-BARRED BY THE STATUTE OF LIMITATIONS.

       Although 42 U.S.C. § 1983 does not contain its own statute of limitations, the United

States Supreme Court has held that statutes of limitations for Section 1983 actions are

determined under state law. Board of Regents v. Tomanio, 446 U.S. 478, 483 (1980). In Wilson

v. Garcia, the U.S. Supreme Court explained that Section 1983 operates “as a directive to select,

in each State, the one most appropriate statute of limitations for all § 1983 claims.” Wilson v.

Garcia, 471 U.S. 261, 275 (1985).        In the State of Maine, “there is a six-year statute of

limitations governing civil rights actions,” including “[c]laims under sections 1983 and 1985 of

the Civil Rights Act.” Brown v. Ferrara, 2:10-cv-00523-GZA, 2011 U.S. Dist. LEXIS 46221,

**12-13 (D. Me. Apr. 28, 2011) (citing Small v. Inhabitants of City of Belfast, 796 F.2d 544,

546-47 (1st Cir. 1986); see also Douglas v. York County, 433 F.3d 143, 144 (1st Cir. 2005)

(applying Maine’s general six-year statute of limitations to plaintiff’s Section 1983 claim).

       As explained in Small v. Inhabitants of City of Belfast, 796 F.2d 544 (1st Cir. 1986), the

United States Court of Appeals for the First Circuit addressed the issue of the appropriate statute

of limitations for Section 1983 actions in Maine. Following the Wilson Court’s directive, the

First Circuit determined that “a single limitations period is to be selected and that limitations

period should be the one applicable to tort actions for recovery of damages for personal injury.”

Id. at 545. The District Court had previously applied 14 M.R.S. § 752, the two-year statute of

limitations for cases involving defamation, assault and battery, false imprisonment, and medical

malpractice, on the ground that a Section 1983 violation was akin to an intentional tort. The

First Circuit disagreed, holding instead that the six-year statute of limitations for general civil



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claims, 14 M.R.S. § 753, applied to all Section 1983 claims in Maine. Id. at 546; see also

McKenney v. Greene Acres Manor, 650 A.2d 699, 701 (Me. 1994)(“The First Circuit Court of

Appeals has had occasion to apply the Wilson rule to a section 1983 claim arising in Maine,

holding that the residual six-year statute of limitations set forth in 14 M.R.S.A. § 752 (1980) is

the appropriate one to be used for section 1983 cases in the state of Maine.” (quotation marks

omitted)). Thus, regardless of the subject matter of the case, the First Circuit held that “the

Maine six-year statute of limitations, 14 M.R.S.A. § 752, is the appropriate one to be used for

section 1983 cases [brought] in the state of Maine.” Small, 807 F.2d at 546 (emphasis added).

       For that reason, in McKenney the Law Court held that the six-year statute of limitations

applied to a Section 1983 claim arising out of a wrongful death, even though the statute of

limitations for a wrongful death action would have only been two years. McKenney, 650 A.2d at

701 (“[W]e agree with the First Circuit that Maine’s six-year residual statute of limitations

applies to all section 1983 cases arising in Maine . . . .”). Similarly, in Walker v. Barrett, the

United States Court of Appeals for the Eighth Circuit dismissed a claim alleging sexual abuse by

a teacher because it was time-barred following the Wilson analysis. 650 F.3d 1198, 1205 (8th

Cir. 2011); see also Woods v. Ill. Dep’t of Children & Family Servs., 710 F.3d 762, 766 (7th Cir.

2013) (applying the two-year personal injury statute of limitations rather than the twenty-year

child sexual abuse statute of limitations); A.W. v. Humble Indep. Sch. Dist., 25 F. Supp. 3d 973,

988 (S.D. Tex. 2014), aff’d sub nom. King-White v. Humble Indep. Sch. Dist., 803 F.3d 754 (5th

Cir. 2015) (applying the general Texas two-year statute of limitations period for personal injury

rather than the five-year sexual abuse limitations period).

       Likewise here, because Plaintiff has brought two civil right claims in his Complaint

pursuant to Section 1983 (Counts II and III), this Court must apply the six-year statute of




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limitations set forth in 14 M.R.S. § 753. See e.g., Small, 807 F.2d at 546; Douglas, 433 F.3d at

144; Brown, 2011 U.S. Dist. LEXIS 46221 at **12-13. In applying the six-year limitation,

Plaintiff would have needed to bring his federal claims against the City Defendants no later than

December 31, 2009. As evidenced by the filing of Plaintiff’s Complaint, he did not assert his

federal causes of action until October 2015. As a result, the Court should conclude that, on the

face of the Plaintiff’s Complaint, his Section 1983 claims against the City Defendants are time-

barred, and dismiss Counts II and II of Plaintiff’s Complaint in their entirety, with prejudice.

IV.     PLAINTIFF’S STATE-LAW CLAIM IS BARRED UNDER THE STATUTE OF
        LIMITATIONS AND NOTICE PROVISIONS OF THE TORT CLAIMS ACT.

        A.     The State-law Tort Claim is Barred by the Two-Year
               Statute of Limitations Set Forth in 14 M.R.S. § 8110.

        In Count IV, Plaintiff has asserted that the City Defendants negligently supervised

Defendant Stephen Dodd. The Maine Tort Claims Act (“MTCA”) provides that “[e]very claim

against a governmental entity or its employees” must be commenced “within 2 years after the

cause of action accrues, except that, if the claimant is a minor when the cause of action accrues,

the action may be brought within 2 years of the minor’s attaining 18 years of age.” 14 M.R.S. §

8110.

        As highlighted above, the Complaint alleges that Plaintiff “was sexually assaulted by

Biddeford Police Department Officer Stephen Dodd in 1998-99 when Lauzon was 13 to 14 years

old.” (ECF No. 3-1 at ¶¶ 1, 10.) Taken as true, the underlying action for which the City

Defendants are alleged to be liable for occurred sometime in 1998 or 1999. Both of the City

Defendants qualify as either “governmental entity or its employee,” and therefore the MTCA

applies. Even tolling the two-year statute of limitations set forth in the MTCA until after the

Plaintiff reached majority in 2003, he would have still needed to bring his tort claim against the




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City Defendants no later than December 31, 2005 in order to comply with MTCA’s statutory

requirements. As evidenced by the filing of Plaintiff’s Complaint, he did not assert his State-law

cause of action until October 2015. As a result, the Court should conclude that, on the face of

Plaintiff’s Complaint, his negligent supervision claim against the City Defendants is time-barred,

and dismiss Counts IV of Plaintiff’s Complaint in its entirety, with prejudice.

       B.        The State-law Tort Claim is Barred by Plaintiff’s
                 Failure to Comply with the Notice Provision in 14 M.R.S. § 8107.

       In addition to the two-year statute of limitations imposed by the MTCA, the MTCA also

contains a mandatory, pre-suit notice requirement. See 14 M.R.S. § 8107. That requirement

provides that:

                 Within 180 days after any claim or cause of action permitted by
                 this chapter accrues, or at a later time within the limits of section
                 8110, when a claimant shows good cause why notice could not
                 have reasonably been filed within the 180-day limit, a claimant or
                 a claimant's personal representative or attorney shall file a written
                 notice containing:

                 A. The name and address of the claimant, and the name
                    and address of the claimant's attorney or other
                    representative, if any;
                 B. A concise statement of the basis of the claim, including
                    the date, time, place and circumstances of the act,
                    omission or occurrence complained of;
                 C. The name and address of any governmental employee
                    involved, if known;
                 D. A concise statement of the nature and extent of the
                    injury claimed to have been suffered; and
                 E. A statement of the amount of monetary damages
                    claimed.
Id. § 8107(1). The MTCA notice requirement goes on to state that “No claim or action shall be

commenced against a governmental entity or employee . . . unless the foregoing notice

provisions are substantially complied with.” Id. § 8107(4).




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       Plaintiff does not (and cannot) allege that he filed the required notice within 180 days of

the accrual of his claim in 1998-1999. (ECF No. 3-1, ¶ 1.) Moreover, even if he could “show[]

good cause [as to] why notice could not have reasonably been filed within the 180-day time

period,” Plaintiff would still have been required to give notice “within the limits of section

8110,” i.e. the two-year statute of limitations, which he likewise failed to do. See 14 M.R.S. §

8107 (providing that claimant must provide notice within 180 days after any claim or cause of

action has accrued, or alternatively, and with good cause shown, within the two-year statute of

limitations). Because Plaintiff has failed to comply with the MTCA’s notice provision when

bringing his tort claim against the City Defendants (both of which qualify as either a

“governmental entity or employee”), Court IV of his Complaint is barred by the MTCA, and

requires dismissal in its entirety, with prejudice. See e.g., Cushman v. Tilton, 652 A.2d 650, 651

(1995) (failure to comply with notice provision of MTCA bars claim).

       WHEREFORE, because Plaintiff’s claims are time-barred by the applicable statute of

limitations, and because Plaintiff has failed to comply with the mandatory notice requirements

set forth in the Maine Tort Claims Act, the City Defendants respectfully request that this Court

dismiss his Complaint in its entirety as against them, with prejudice.

       Respectfully submitted this 10th day of February, 2016 at Portland, Maine.

                                              /s/Michael E. Saucier, Esq.
                                              /s/Brendan R. O’Rourke, Esq.
                                              Michael E. Saucier, Esq.
                                              Brendan R. O’Rourke, Esq.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2016, I electronically filed Defendants Roger

Beaupre and City of Biddeford’s Motion to Dismiss, and Incorporated Memorandum of Law,

with the Clerk of Court using the CM/ECF system which will send notification of such filing(s)

to all counsel of record.


Dated: February 10, 2016

                                           /s/Michael E. Saucier, Esq.
                                           /s/Brendan R. O’Rourke, Esq.
                                           Michael E. Saucier, Esq.
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